                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

JARED LEE, DANA ELLIS,                             §
MATTHEW COUNTS,                                    §
GREGORY MCCLENDON, and                             §
BARRY RUSSELL,                                     §
                                                   §         Civil Action No. 7:22-cv-185
                                                   §
v.                                                 §
                                                   §         JURY TRIAL DEMANDED
CITY OF MIDLAND, JENNIE                            §
ALONZO, ROSEMARY SHARP, and                        §
CAMILO FONSECA                                     §

                                               ORDER

       Defendants City of Midland’s, Officer Jennie Alonzo’s, Sergeant Rosemary Sharp’s, and

Officer Camilo Fonseca’s motion to dismiss the claims against them is GRANTED. It is therefore;

       ORDERED that Plaintiffs’ claims against Defendants City of Midland, Officer Jennie

Alonzo, Sergeant Rosemary Sharp, and Officer Camilo Fonseca, are DISMISSED WITH

PREJUDICE.


       SIGNED on this         day of               , 2022.




                                                         Barbara M.G. Lynn
                                                       United States District Judge
